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 3
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 5
                         IN THE UNITED STATES DISTRICT COURT
 6
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8
                                                )
 9   UNITED STATES OF AMERICA,                  )   Case No.: 2:13-cr-00084-GEB
                                                )
10                                                  STIPULATION AND ORDER FOR
                  Plaintiff,                    )
                                                )   CONTINUANCE OF BAIL REVIEW
11
           vs.                                  )
12                                                  Date: 2/9/18
                                                )
                                                    Time: 2:00 p.m.
13   SURJIT SINGH,                              )
                                                    Judge: Hon. Kendall J. Newman
                Defendant.                      )
14                                              )
15
16                                            STIPULATION
17         The United States of America through its undersigned counsel, Lee Bickley,
18   Assistant United States Attorney, together with Thomas A. Johnson, counsel for Surjit
19   Singh, hereby stipulate the following:
20
21      1. This matter was calendared for a Bail Review Motion on February 9, 2018.
22      2. By this stipulation, defendant now moves to continue the Bail Review Motion to
23         February 27, 2018, at 9:00 a.m. before the Honorable Kendall J. Newman.
24
25   IT IS SO STIPULATED.
26
     DATE: February 7, 2018
27
                                                     /s/ Thomas A. Johnson
28                                                   THOMAS A. JOHNSON
                                                     Attorney for Surjit Singh

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 1
     DATED: February 7, 2018                 McGREGOR SCOTT
 2                                           United States Attorney
 3                                           /s/ Lee Bickley
                                             LEE BICKLEY
 4                                           Assistant U.S. Attorney
 5
 6                                     ORDER
 7         IT IS SO ORDERED.
 8
 9   Dated: February 8, 2018
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